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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                           CASE NO.

  ST. PAUL MERCURY INSURANCE
  COMPANY,

                Plaintiff,
  vs.

  U.S. CENTURY BANK, a Florida
  Corporation,   RAMON      RASCO,
  FRANCISCO       ANGONES,    JOSE
  CANCELA, SERGIO PINO, CARLOS M.
  GARCIA, ARMANDO J. GUERRA,
  AGUSTIN       HERRAN,    MANUEL
  HERRAN,      ADOLFO   HENRIQUES,
  RODNEY BARRETO, CARLOS DÁVILA,
  ABEL MONTOURI, JORGE CARVALLO,
  SAMUEL MILNE, CARLOS E. SILVA,
  JORGE E. SILVA, JUAN J. HERRAN,
  MD, CARMEN DE LOURDES HERRAN,
  JESUS R. TOME, ISABEL B. TOME,
  ANIBAL DUARTE-VIERA, and MASOUD
  SHOJAEE.

                Defendants.
                                            /

                      COMPLAINT FOR DECLARATORY JUDGMENT

         Plaintiff, St. Paul Mercury Insurance Company (“Travelers”), brings this action for

  declaratory relief against Defendants, U.S. Century Bank, Ramon Rasco, Francisco Angones,

  Jose Cancela, Sergio Pino, Carlos M. Garcia, Armando J. Guerra, Agustin Herran, Manuel

  Herran, Adolfo Henriques, Rodney Barreto, Carlos Dávila, Abel Montouri, Jorge Carvallo,

  Carmen De Lourdes Herran, Samuel Milne, Carlos E. Silva, Jorge E. Silva, Juan J. Herran, Jesus

  R. Tome, Isabel B. Tome, Anibal Duarte-Viera, and Masoud Shojaee (collectively,

  “Defendants”), and alleges as follows:
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                                           Nature of the Case

         1.      This is an action for declaratory relief brought under the Declaratory Judgment

  Act, 28 U.S.C. §§ 2201 and 2202.

         2.      Travelers seeks a declaration that its Select One for Community Banks Policy

  No. EC00900250 (the “Policy”) does not provide coverage for any settlement, defense costs,

  expenses, or any other purported Loss (as that term is defined in the Policy) incurred by or on

  behalf of the defendants in or connected to the lawsuit styled Carlos Silva v. U.S. Century Bank,

  et al., Case No. 12-44522 CA 40, Circuit Court of the Eleventh Judicial Circuit, in and for

  Miami-Dade County, Florida (the “Silva Lawsuit”). A true and correct copy of the Policy is

  attached hereto as Exhibit “A”. A true and correct copy of the most recent Complaint in the

  Silva Lawsuit, the Fourth Amended Complaint, is attached hereto as Exhibit “B”.

                                        Jurisdiction and Venue

         3.      This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

  § 1332 because the action involves a dispute between citizens of different states, and the amount

  in controversy exceeds $75,000.00.

         4.      This Court has personal jurisdiction over Defendants because the individual

  Defendants are residents of Florida, and Defendant U.S. Century Bank is a Florida state

  chartered commercial banking institution organized and existing under the laws of Florida, with

  its principal place of business in Florida.

         5.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)

  because a substantial part of the events or omissions giving rise to this action occurred in Miami-

  Dade County, Florida.



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                                                Parties

          6.      Plaintiff Travelers is an insurance company organized and existing under the laws

  of the State of Connecticut, with its principal place of business located in Hartford, Connecticut.

  At all relevant times, Travelers was licensed to conduct and transact insurance business in the

  State of Florida.

          7.      Defendant, U.S. Century Bank (the “Bank”) is a Florida state chartered

  commercial banking institution organized and existing under the laws of Florida, with its

  principal place of business in Florida.

          8.      Defendant, Carlos E. Silva, is an individual residing in Florida and is a citizen of

  Florida.

          9.      Defendant, Jorge E. Silva, is an individual residing in Florida and is a citizen of

  Florida.

          10.     Defendant, Juan J. Herran, MD, is an individual residing in Florida and is a

  citizen of Florida.

          11.     Defendant, Carmen De Lourdes Herran, is an individual residing in Florida and is

  a citizen of Florida.

          12.     Defendant, Jesus R. Tome, is an individual residing in Florida and is a citizen of

  Florida.

          13.     Defendant, Isabel B. Tome, is an individual residing in Florida and is a citizen of

  Florida.

          14.     Defendant, Anibal Duarte-Viera, is an individual residing in Florida and is a

  citizen of Florida.



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         15.    Defendant, Masoud Shojaee, is an individual residing in Florida and is a citizen of

  Florida.

         16.    Defendant, Ramon Rasco, is an individual residing in Florida and is a citizen of

  Florida.

         17.    Defendant, Francisco Angones, is an individual residing in Florida and is a citizen

  of Florida.

         18.    Defendant, Jose Cancela, is an individual residing in Florida and is a citizen of

  Florida.

         19.    Defendant, Sergio Pino, is an individual residing in Florida and is a citizen of

  Florida.

         20.    Defendant, Carlos M. Garcia, is an individual residing in Florida and is a citizen

  of Florida.

         21.    Defendant, Armando J. Guerra, is an individual residing in Florida and is a citizen

  of Florida.

         22.    Defendant, Agustin Herran, is an individual residing in Florida and is a citizen of

  Florida.

         23.    Defendant, Manuel Herran, is an individual residing in Florida and is a citizen of

  Florida.

         24.    Defendant Adolfo Henriques, is an individual residing in Florida and is a citizen

  of Florida.

         25.    Defendant, Rodney Barreto, is an individual residing in Florida and is a citizen of

  Florida.



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         26.    Defendant, Carlos Dávila, is an individual residing in Florida and is a citizen of

  Florida.

         27.    Defendant, Abel Montouri, is an individual residing in Florida and is a citizen of

  Florida.

         28.    Defendant, Jorge Carvallo, is an individual residing in Florida and is a citizen of

  Florida.

         29.    Defendant, Samuel Milne, is an individual residing in Florida and is a citizen of

  Florida.

                                            The Policy

         30.    Travelers issued the Policy to the Bank for the policy period of September 23,

  2008, through September 23, 2011, with an additional extended discovery period from

  September 23, 2011 through September 23, 2012 (the “Additional Extended Discovery Period”).

  The Policy affords up to $10 million in primary policy year limits of liability subject to a per

  Claim retention.

         31.    The Policy defines, among other things, “Company,” “Insured” and “Insured

  Persons”:

         Company means any entity named in the Declarations and its Subsidiaries.

  (Policy, CB007, p. 3).

         Insured means:

         (a)    the Insured Persons;

         (b)    the Company, except the Company shall not be an Insured with Respect to
                the Directors and Officers Individual Coverage; and

         (c)    only with respect to any Fiduciary Liability Insuring Agreement made part
                of this Policy, the Plans.

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  (Policy, CB007, p. 4).

         Insured Persons means:

         (a)      Directors or Officers;

         (b)      only with respect to any Bankers Professional Liability Insuring
                  Agreement and Trust Liability Insuring Agreement made part of this
                  Policy, Employees; and

         (c)      only to the extent that coverage is granted as set forth in the Declarations,
                  Employees, Leased Employees and Independent Contractors.

  (Policy, CB007, p. 4).

                                                  ***

         32.      Defendant the Bank is an Insured under the terms of the Policy. Defendants

  Ramon Rasco, Francisco Angones, Jose Cancela, Sergio Pino, Carlos M. Garcia, Armando J.

  Guerra, Agustin Herran, Manuel Herran, Adolfo Henriques, Rodney Barreto, Carlos Dávila,

  Abel Montouri, Jorge Carvallo, and Samuel Milne (collectively “Insured Persons”) qualify as

  Insured Persons under the terms of the Policy in their capacity as Directors, Officers or

  Employees of the Bank.

         33.      The Policy is a “claims first made” policy which affords coverage for Claims first

  made during the policy period or the Additional Extended Discovery Period.              The Policy

  provides four types of coverage: management liability, employment practices liability, fiduciary

  liability and banker’s professional liability. Only the management liability coverage section

  applies to the Silva Lawsuit.

         34.      The notice provision of the Policy provides:

         Notice



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         The Insureds shall, as a condition precedent to their rights under this Policy, give
         to the Insurer written notice of any Claim made against the Insureds as soon as
         practicable, but in no event later than: (a) sixty (60) days after expiration of the
         Policy Year in which the Claim was first made; or (b) the expiration of the
         Automatic Discovery Period or, if exercised, the Additional Extended Discovery
         Period.

         If during the Policy Period, the Automatic Discovery Period or, if exercised, the
         Additional Extended Discovery Period, the Insureds become aware of
         circumstances which could give rise to a Claim for a Wrongful Act taking place
         before or during the Policy Period and give written notice of such circumstances
         and the other information referenced below to the Insurer during the Policy
         Period, the Automatic Discovery Period, or, if exercised, the Additional Extended
         Discovery Period, then any Claims subsequently arising from such circumstances
         shall be considered to have been made during the Policy Year, the Automatic
         Discovery Period or, if exercised, the Additional Extended Discovery period in
         which such notice of such circumstances and such other information was first
         given to the Insurer.

         The Insureds shall, as a condition precedent to exercising their rights under this
         Policy: (a) include within any notice of Claim or circumstance a description of the
         Claim or circumstances, the nature of the alleged Wrongful Act, the nature of the
         alleged or potential damage, the names of actual or potential claimants and
         Insureds involved, and the manner in which the Insureds first became aware of the
         Claim or circumstances; and (b) give to the Insurer such other information and
         cooperation as the Insurer may reasonably request.

         All notices under any provision of this Policy shall be in writing and given by
         prepaid express courier, certified mail or fax properly addressed to the appropriate
         party. Notice to the Insureds may be given to the Parent Company at the address
         set forth in the Declarations. Notice to the Insurer of any Claim or circumstance
         shall be given to The St. Paul Travelers Companies, Inc., 385 Washington Street,
         St. Paul, Minnesota 5510-2-1396, Attention: Professional E&O Claim Unit. All
         other notices to the Insurer under this Policy shall be given to the same addressee
         but to the attention of the Financial and Professional Services Unit. Notice given
         as described above shall be deemed to be received and effective upon actual
         receipt thereof by the addressee or one (1) day following the date such notice is
         sent, whichever is earlier.

                                                ***
  (Policy, CB007, pp. 11-12).




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          35.    The Additional Extended Discovery Period was purchased by the Bank for the

  period September 23, 2011 to September 23, 2012. The Policy provides, in part, that “Any

  Claim made during the Additional Extended Discovery Period shall be deemed to have been

  made during the Policy Year immediately preceding the Additional Extended Discovery Period.”

  (Policy, CB007, p. 1).

          36.    The Management Liability Insuring Agreement includes Directors and Officers

  Individual Coverage (“D&O Coverage"), Company Liability Coverage and Company

  Indemnification Coverage under the express terms and conditions of the Policy. The limit of

  liability under the Management Liability Insuring Agreement is $10,000,000 for Loss on account

  of all Claims first made during the same Policy Year, including the Automatic Discovery Period

  and the Additional Extended Discovery Period. (Policy, CB007, p 10). The Limits of Liability

  are inclusive of Defense Costs. (Policy, CB007, p. 10).

          37.    As to D&O Coverage, the Policy provides in part, that:

          Directors and Officers Individual Coverage

           The Insurer shall pay on behalf of the Insured Persons Loss for which the Insured
           Persons are not indemnified by the Company and which the Insured Persons
           become legally obligated to pay on account of any Claim first made against
           them, individually or otherwise, during the Policy Period, ... or if exercised, the
           Additional Extended Discovery Period, for a Management Practices Act taking
           place before or during the Policy Period.

  (Policy, CB003, p. 1).

          38.    Further, the Company Indemnification Coverage provision provides, in relevant

  part, that:

          Company Indemnification Coverage

          If Company Indemnification Coverage is granted as set forth in the
          Declarations, the Insurer shall pay on behalf of the Company Loss for which the

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         Company grants indemnification to the Insured Persons, as permitted or required
         by law, and which the Insured Persons have become legally obligated to pay on
         account of any Claim first made against them, individually or otherwise, during
         the Policy Period, … or, if exercised, the Additional Extended Discovery Period,
         for a Management Practice Act taking place before or during the Policy Period.

  (Policy, CB003, p. 1).
                                                ***

         39.    Finally, the Company Liability Coverage provides:

         Company Liability Coverage

         If Company Liability Coverage is granted as set forth in the Declarations, the
         Insurer shall pay on behalf of the Company Loss for which the Company becomes
         legally obligated to pay on account of any Claim first made against the Company
         during the Policy Period, … or, if exercised, the Additional Extended Discovery
         Period, for a Management Practices Act taking place before or during the Policy
         Period.

  (Policy, CB003, p. 1).

         40.    The Policy defines “Claim,” “Loss,” “Management Practices Act,” and

  "Wrongful Act" in relevant part:

         Claim means the following, including any appeal therefrom:

         (a)    a written demand against any Insured for monetary damages or non-
                monetary relief;

         (b)    a civil proceeding against any Insured commenced by the service of a
                complaint or similar pleading;

                                                ***

         (e)    a written request received by any Insured to toll or waive a statute of
                limitations, relating to a potential Claim described in (a), (b), (c) or (d)
                above;

         On account of a Wrongful Act

                                                ***
  (Policy, CB007, p. 2-3).


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          Loss means the amount which the Insureds become legally obligated to pay on
          account of each Claim and for all Claims made against them during the Policy
          Period, the Automatic Discovery Period or, if exercised, the Additional Extended
          Discovery period, for Wrongful Acts for which coverage applies, including
          Damages, judgments, settlements and Defense Costs. Loss does not include

                                                   ***

          (c)     any unrepaid, unrecoverable or outstanding loan, lease or extension of
                  credit to any Affiliated Person or Borrower;

                                                   ***

          (f)     matters uninsurable under the law pursuant to which this Policy is
                  construed; provided that Damages shall be deemed insurable under the
                  Policy if such Damages are insurable under the law of any jurisdiction that
                  is most favorable to the insurability of such Damages and has a substantial
                  relationship to the Insureds, the Claim, the Insurer, or this Policy.

                                                   ***

   (Policy, CB007, p. 5) (see also CB103, p. 1).

          Management Practices Act means:

          (a)     any error, misstatement, misleading statement, act, omission, neglect, or
                  breach of duty actually or allegedly committed or attempted by any
                  Insured Person in their capacity as such, or in an Outside Position or, with
                  respect to the Company Liability Coverage, by the Company; or

          (b)     any matter claimed against the Insured Persons solely by reason of their
                  serving in such capacity or in an Outside Position.

          Management Practices Act does not include (i) a Fiduciary Act; or (ii) any
          conduct actually or allegedly committed or attempted by any Insured Person in
          their capacity as a director, officer, trustee, governor, member of the board of
          managers, or any equivalent position, or employee of any entity other than the
          Company, even if service in such capacity is with the knowledge and consent of,
          at the direction or request of, or part of the duties regularly assigned to the Insured
          Person by the Company, except in their capacity in an Outside Position.

          With respect only to any Company Liability Coverage, Management Practices
          Act also does not include an Employment Practices Act, Trust Act, Lending Act
          or Professional Services Act.


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                                                  ***

          Wrongful Act means Employment Practices Act, IRA/Keogh Act, Fiduciary Act,
          Lending Act, Management Practices Act, Professional Services Act, and Trust
          Act, but only to the extent that coverage is granted for such acts pursuant to an
          Insuring Agreement made part of this Policy.

   (Policy, CB007, p. 5 - 6, 8).

          41.     Based on these provisions, the Policy affords D&O, Company Indemnification, or

   Company Liability coverage only for (1) Claims first made during the policy period or the

   Additional Extended Discovery Period against an Insured for a Management Practices Act taking

   place before or during the Policy Period, subject to the other provisions of the Policy, or (2) a

   Claim that arises from a properly noticed and accepted notice of circumstances which was made

   during the policy period or Additional Extended Discovery Period, subject to the other

   provisions of the Policy.

          42.     The Management Liability Coverage Section also expressly excludes Loss on

   account of any Claim made against any Insured:

          5.      based upon, arising out of, or attributable to any actual or alleged loan,
                  lease or extension of credit:

                  (a)     to any Affiliated Person;

                  (b)     to any other person or entity if loans, leases or extensions of credit
                          to such person or entity would be aggregated with a loan, lease or
                          extension of credit to any Affiliated Person for purposes of
                          determining the Company’s compliance with any applicable
                          restriction on the concentration of the Company’s loans; or

                  (c)     that was, at the time of its making, in excess of the legal lending
                          limit of the Company;

                                                  ***
   (Policy, CB003, p. 2-3).

   (hereinafter referred to as “Exclusion 5”).

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          43.     The term “Affiliated Person” is defined as:

          Affiliated Person means:

          (a)     any Director, Officer or Employee;

          (b)     any shareholder of the Company that directly or indirectly, or acting
                  through or in concert with one or more individuals or entities, owns,
                  controls or has the power to vote ten percent (10%) or more of any class of
                  voting securities of the Company; securities owned or controlled by a
                  member of an individual’s immediate family (spouse, minor children and
                  adult children residing with the individual) are considered to be held by the
                  individual for purposes of this definition; or

          (c)     an entity in which the Company or Directors, Officers or Employees:

                  (I)       own, either directly or indirectly, twenty-five percent (25%) or
                            more of any class of voting securities of; or

                  (ii)      have a controlling direct or beneficial interest in;

          at the time a loan, lease or extension of credit by the Company to such entity was
          made or agreed to, or was refused.

                                                     ***
   (Policy, CB007, p. 2).

          44.     Furthermore, the Policy provides that as to all Insuring Agreements, which would

   include the Management Liability Insuring Agreement,

          The Insurer shall not be liable for Loss on account of any Claim made against any
          Insured:

          1.      for any deliberately fraudulent act or omission or any willful violation of
                  any statute or regulation if a final non-appealable judgment or adjudication
                  adverse to such Insured establishes that such Insured committed such an
                  act, omission or violation; provided that this exclusion shall not apply to a
                  Claim for an Employment Practices Act;

   (Policy, CB007, p. 8).

   (hereinafter referred to as “the Fraud Exclusion”).


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          2.       Based upon, arising out of, or attributable to such Insured gaining in fact
                   any personal profit, remuneration or financial advantage to which such
                   Insured was not legally entitled;

                                                   ***
   (Policy, CB007, p. 8).

   (hereinafter referred to as the “Personal Profit Exclusion).

          45.      The Policy also provides for allocation of any Loss incurred by the Insureds.

   Specifically:

          If on account of any Claim the Insureds who are covered for such Claim under this
          Policy incur Loss jointly with others, including any Insureds who are not covered
          for such Claim under this Policy, or the Insureds incur an amount consisting of
          both Loss covered by this Policy and loss not covered by this Policy because the
          Claim includes both covered Loss and uncovered matters, such amount shall be
          allocated based upon the relative legal exposures of the parties to covered and
          uncovered matters.

   (Policy, CB007, p. 13-14).

                                      The Notice of Circumstances

          46.      Prior to the expiration of the Additional Extended Reporting Period of the Policy,

   the Bank (through counsel) sent a letter dated September 12, 2012 to Travelers relating to a June

   14 and July 3, 2012, demand for inspection of books and records by counsel for shareholder

   Carlos E. Silva.

          47.      Travelers rejected the notice as improper because it did not contain the specifics

   required by the Policy’s notice provision. Some additional information was provided to Travelers

   by email dated September 21, 2012, and Travelers accepted the notice on a very limited basis by

   letter dated September 26, 2012. In its September 26th letter, Travelers stated that its acceptance

   of the notice of circumstances was “limited, however, to any claims by Mr. Silva for insider




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   transactions at the Bank giving rise to Mr. Silva’s losses.” The Bank never objected to Travelers'

   acceptance of a limited notice of circumstances.

                        Count I: Declaratory Judgment as to the Silva Lawsuit

          48.      Travelers reasserts the allegations of paragraphs 1 through 47 above as if fully set

   forth herein.

          49.      The Silva Lawsuit was filed on November 13, 2012 after expiration of the Policy’s

   policy period and Additional Extended Discovery Period. The Silva Lawsuit is currently being

   brought by plaintiffs Carlos E. Silva, Jorge E. Silva, Juan J. Herran, MD, Carmen De Lourdes

   Herran, Jesus R. Tome, Isabel B. Tome, Anibal Duarte-Viera, and Masoud Shojaee (the “Silva

   Plaintiffs”) in a derivative representative capacity in the right of and for the benefit of the Bank,

   against Defendants, the Bank as a nominal defendant, and against the Insured Persons1.

          50.      An amended complaint was filed on November 21, 2012; a second amended

   complaint was filed on December 19, 2012; a third amended complaint was filed on January 13,

   2013; and a fourth amended complaint was filed on July 3, 2013 (the “Fourth Amended

   Complaint”). Counts I and II of the Fourth Amended Complaint were dismissed with prejudice

   by order of the court dated October 28, 2013. Counts III through XIX of the Fourth Amended

   Complaint were not dismissed. A true and correct copy of the Order on Defendants’ Motion to

   Dismiss is attached hereto as Exhibit “C”.

          51.      At the time of filing of this Complaint for Declaratory Judgment, Counts III

   through XIX of the Fourth Amended Complaint constitute the operative complaint.

          52.      According to the Fourth Amended Complaint, the Silva Plaintiffs are each

   minority shareholders of the Bank and assert derivative claims on behalf of and for the benefit of
   1
     Octavio Hernandez was originally named as a defendant in the Silva Lawsuit, but the claims
   against him have been dropped and have not been reasserted to date.
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   the Bank against the Insured Persons. The Bank is a nominal defendant only as to the claims

   being asserted on its behalf.

          53.     The Silva Plaintiffs assert derivative claims on behalf of the Bank to recover sums

   that were allegedly wasted and lost by the Bank as a result of the wrongful and negligent acts of

   the Insured Persons.

          54.     The Silva Plaintiffs assert the following derivative claims against the Insured

   Persons on behalf of the Bank: (1) breach of fiduciary duty; (2) negligence; (3) waste and/or

   misappropriation of corporate assets; and (4) unjust enrichment.

          55.     The Silva Lawsuit alleges that the Bank suffered substantial monetary losses due

   to actions of the Insured Persons which included, among other things (a) participating in improper

   insider lending; (b) failing to monitor capital requirements; (c) failing to institute proper controls;

   (d) squandering federal TARP money; (e) leasing Bank branches from directors and officers; and

   (f) failing to communicate with shareholders.

          56.     Coverage does not exist for the Silva Lawsuit under the Policy as the claims

   currently asserted do not constitute direct claims by Carlos E. Silva for his losses as reported to

   Travelers in the Bank’s September 2012 notice of circumstances.

          57.     Coverage does not exist for the Silva Lawsuit based on Exclusion 5 of the

   Management Liability coverage section of the Policy because the Silva Lawsuit seeks damages

   arising from improper loans and leases to directors and officers of the Bank, as well as to their

   family members. As such, all Loss incurred by the Insured Person constitutes Loss on account of

   loans and leases to Affiliated Persons.




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          58.     Coverage does not exist for the Bank under the Policy as a nominal defendant in

   the Silva Lawsuit because no Wrongful Acts have been alleged against the Bank, and thus no

   Claim has been made against the Bank under the Policy.

          59.     Coverage does not exist under the Policy for the Silva Lawsuit for any amount that

   does not constitute Loss under the Policy, including “any unrepaid, unrecoverable or outstanding

   loan, lease or extension of credit to any Affiliated Person or Borrower.”

          60.     Coverage does not exist for the Silva Lawsuit to the extent any other exclusion in

   the Policy excludes coverage including without limitation the fraud/violation of law exclusion and

   the personal profit exclusion.

          61.     Coverage does not exist for defendants Sergio Pino, Carlos M. Garcia, Armando J.

   Guerra and Agustin Herran to the extent of any liability arising from their actions or status as

   controlling shareholders because they are not sued in an insured capacity pursuant to the

   definition of Wrongful Acts in the Policy.

          62.     To the extent any coverage exists for the Silva Lawsuit, Travelers is entitled to an

   allocation between any covered Loss and uncovered loss based upon the relative legal exposure of

   the Insured Persons to covered and uncovered matters.

          63.     Based on the foregoing facts and Policy provisions, there is a bona fide dispute and

   an actual, justiciable, genuine controversy between the parties as to whether the aforementioned

   Policy obligates Travelers to defend or pay any Loss for the Silva Lawsuit.

          64.     Travelers is in doubt as to the availability of coverage and its duty to provide a

   defense to the Bank and the Insured Persons under the facts of this case and as to its rights, duties,

   status and other equitable or legal relations under the Policy. Travelers is entitled to obtain a



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   declaration of such rights, duties, status and other equitable or legal relations under the Policy,

   including any allocation of covered Loss and uncovered loss.

          WHEREFORE, Plaintiff Travelers respectfully requests that this Court:

          A.      Take jurisdiction over this case, its parties and its subject matter; and

          B.      Enter a Declaratory Judgment which:

                  1.     Interprets Policy No. EC00900250 issued by Travelers to U.S. Century

                         Bank;

                  2.     Applies the Court’s interpretations to the facts of this case;

                  3.     Determines the respective rights, status, duties and other equitable or legal

                         relations of the parties to this cause;

                  4.     Specifically declares that there is no coverage under Policy No.

                         EC00900250 available to the Bank and the Insured Persons for any claims

                         against them or any of them which have been or may be brought by

                         plaintiffs in the Silva Lawsuit, and accordingly, that Travelers has no duty

                         to defend the Bank and the Insured Persons in the Silva Lawsuit to the

                         extent the Silva Lawsuit contains non-covered claims; and

                  5.     Specifically declares that Travelers’ has no further duty to defend the Bank

                         and the Insured Persons in the Silva Lawsuit as the claims currently

                         asserted were not the subject of the matters noticed by the Bank in its

                         September 2012 notice of circumstances;

                  6.     Determines the allocation of covered and uncovered matters, if any; and




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              7.    Grants any further, necessary or proper relief as this Court deems equitable

                    or appropriate under section 28 U.S.C. § 2202, including any recoupment

                    of defense costs already advanced by Travelers.



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